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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

                        Plaintiff,

                        v.

 STATE OF WISCONSIN; WISCONSIN                             Civil Action No. 18-cv-471
 ELECTIONS COMMISSION; and MEAGAN
 WOLFE, in her official capacity as the
 Administrator of the Wisconsin Elections
 Commission,

                        Defendants.




         NOTICE OF EXPIRATION OF CONSENT JUDGMENT AND DECREE

       The United States files this motion to inform the Court of the status of the Consent

Judgment and Decree (ECF No. 7) (hereinafter, “Consent Decree”) in the above-captioned case.

       On June 19, 2018, the United States simultaneously filed a Complaint and a proposed

Consent Decree to enforce the requirements of the Uniformed and Overseas Citizens Absentee

Voting Act (“UOCAVA”), 52 USC §§ 20301 et seq. The Complaint alleged that Defendants,

through Wisconsin laws and election administration procedures, did not permit Wisconsin voters

who temporarily reside overseas to receive absentee ballots electronically or to use the Federal

Write-In Absentee Ballot, as they are entitled to under UOCAVA. On June 20, 2018, the Court

entered the Consent Decree as an order.

       The United States has monitored the Defendants’ compliance with the terms of the

Consent Decree. Wisconsin Act 369, enacted in December 2018, codifies into state law the

terms of the Consent Decree to enable Wisconsin voters who are temporarily overseas to receive
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a ballot electronically and to use the Federal Write-In Absentee Ballot. See 2017-2018 Wisc.

Legis. Serv. Act 369 (West).

       The Consent Decree is set to expire on January 31, 2020. See ECF No. 7 at p. 8. The

parties have conferred and agree that further court oversight of the Consent Decree is not needed,

and the United States will not be seeking to extend the Consent Decree in this case.


January 29, 2020                             Respectfully submitted,

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Western District of Wisconsin                Civil Rights Division

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                                             s/ Jasmyn G. Richardson
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2020, a true and correct copy of the foregoing

document was served via the Court’s ECF system to all counsel of record.


                                     s/ Jasmyn G. Richardson
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